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                                                                            U.S. DISTRICT COURT
                                                                                  N.D. OF ALABAMA


                    UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF ALABAMA
                         SOUTHERN DIVISION

UNITED STATES OF AMERICA                     )
                                             )
v.                                           ) Case No:
                                             ) FILED UNDER SEAL
MARSHALL DAVID NEIPERT,                      )
   Defendant.                                )

                                INFORMATION

      The United States Attorney charges that:

      At all times material to this Information:

                                INTRODUCTION

      1.    Bitcoin are an electronic medium of exchange, or a form of virtual

currency. Unlike fiat currencies, such as the United States Dollar, Bitcoin do not

exist in any physical form. Bitcoin exist solely as entries on a publicly available

electronic ledger that records all Bitcoin transactions ever conducted. Unlike most

fiat currency, Bitcoin is not issued or controlled by any government, bank, or

company, but rather is generated and controlled automatically through computer

software operating on a decentralized, “peer-to-peer” network.        Bitcoin is a

convertible currency meaning that it has an equivalent value in fiat currency, and

users can exchange it for fiat currency. The exchange rate for Bitcoin is not

determined by any government or centralized entity rather it floats on the open

market.
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      2.     To acquire Bitcoin, a user must “mine” or create it, accept it as payment

for goods or services, or purchase it for fiat currency from a Bitcoin exchanger.

      3.     Bitcoin are “mined” when “miners” utilize computing power to verify

and confirm a block of Bitcoin transactions on the publicly available electronic

ledger. The Bitcoin software pays “miners” for this service by awarding them newly

created Bitcoins on the electronic ledger. Mining Bitcoin requires the “miner” to

utilize extensive computer processing power. As such, most users obtain their

Bitcoin from exchangers or via trade.        In return for a commission, Bitcoin

exchangers exchange conventional fiat currency for a corresponding number of

Bitcoin based on the fluctuating exchange rate.

      4.     When a user acquires Bitcoin from an exchanger, the Bitcoin exchanger

sends Bitcoin from his or her public Bitcoin “address” to the user’s public Bitcoin

“address.” An “address” is akin to a bank account number and is a complex string

of letters and numbers. To conduct a Bitcoin transaction, neither the payor nor the

payee must submit any identifying information. The only information needed is the

two public Bitcoin addresses. Bitcoin addresses by themselves do not reflect any

identifying information, and users can obtain Bitcoin addresses from certain

platforms anonymously. A private key or password is needed to transfer Bitcoin

from a given public address. Bitcoin users can maintain their public addresses and


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their private keys in virtual “wallets” housed on their phones, computers, flash

drives, or other media.

      5.     Bitcoin are not inherently illegal and have known legitimate uses.

However, they are the preferred form of payment, and often the only form of

payment, on various anonymous internet marketplaces and forums for illegal goods.

Individuals commonly use Bitcoin to facilitate illicit transactions and to launder

criminal proceeds due to the ease with which individuals can use them to move

money anonymously.

      6.     Bitcoin exchange businesses are money-transmitting businesses and

must comply with the money transmitting business registration requirements under

Title 31, United States Code, Section 5330 and the regulations prescribed thereunder

to operate lawfully. Licensed money transmitting businesses are required to make

efforts to know their customers, or collect identifying information about the people

with whom they are doing business.

                               COUNT ONE
            Operating an Unlicensed Money Transmitting Business
                          [18 U.S.C. § 1960 and 2]

      7.     The allegations contained in the Introduction of this Information in

paragraphs 1-6 are hereby re-alleged and restated as though fully set forth herein.




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      8.    From on or about August 2012 to on or about October 2016, the exact

dates being unknown to the United States Attorney, in the Northern District of

Alabama, and elsewhere, the defendant,

                       MARSHALL DAVID NEIPERT,

aided and abetted by others known and unknown to the United States Attorney, did

knowingly conduct, control, manage, supervise, direct, and own all or part of an

unlicensed money transmitting business, as that term is defined in Title 18, United

States Code, Sections 1960(b)(1)(B) and (b)(1)(C), in that it failed to comply with

the money transmitting business registration requirements under Title 31, United

States Code, Section 5330 and the regulations prescribed thereunder, and involved

the transportation and transmission of funds that were known to the defendant to

have been derived from a criminal offense and were intended to be used to promote

or support unlawful activity, which affected interstate and foreign commerce in any

manner and degree, to wit: the defendant operated a business exchanging the virtual

currency known as Bitcoin and United States Currency for a commission by (1)

transferring or causing the transfer of Bitcoin from Bitcoin addresses under his

business’s custody and control to Bitcoin addresses designated by his customers in

exchange for his customers transferring United States Currency to bank accounts or

post office boxes under his business’s custody and control, and (2) accepting the


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transfer of Bitcoin to Bitcoin addresses under his business’s custody and control in

exchange for transferring United States Currency to addresses designated by his

customers, all in violation of Title 18, United States Code, Section 1960 and 2.

                                COUNT TWO
                 Conspiracy to Launder Monetary Instruments
                             [18 U.S.C. § 1956(h)]

      9.     The allegations contained in the Introduction of this Information in

paragraphs 1-6 are hereby re-alleged and restated as though fully set forth herein.

      10.    From in or about August 2012, though in or about October 2016, the

exact dates being unknown to the United States Attorney, in the Northern District of

Alabama and elsewhere, the defendant,

                        MARSHALL DAVID NEIPERT,

and others known and unknown to the United States Attorney, did knowingly

combine, conspire, confederate and agree together to commit offenses against the

United States in violation of Title 18, United States Code, Section 1956, to wit: to

knowingly conduct and attempt to conduct financial transactions affecting interstate

commerce and foreign commerce, which transactions involved the proceeds of

specified unlawful activity, that is distribution and possession with intent to

distribute controlled substances in violation of Title 21, United States Code Section

841(a) and operation of an unlicensed money transmitting business in violation of


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Title 18, United States Code Section 1960(a), knowing that the transactions were

designed in whole or in part to conceal and disguise the nature, location, source,

ownership, and control of the proceeds of specified unlawful activity, and that while

conducting and attempting to conduct such financial transactions, knew that the

property involved in the financial transactions represented the proceeds of some

form of unlawful activity, in violation of Title 18, United States Code, Section

1956(a)(1)(B)(i).

                            MANNER AND MEANS

      11.    It was part of the conspiracy that NEIPERT and others solicited

customers via the internet and other means to engage in exchanges of Bitcoin and

United States Currency.

      12.    It was further part of the conspiracy that NEIPERT and others used

anonymous means to communicate with their customers.

      13.    It was further part of the conspiracy that NEIPERT and others set up

business entities.

      14.    It was further part of the conspiracy that NEIPERT and others set up

post office boxes and bank accounts in the names of these business entities to accept

transfers of United States Currency.




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      15.    It was further part of the conspiracy that NEIPERT and others

concealed the true purpose of these business entities from financial institutions and

others.

      16.    It was further part of the conspiracy that NEIPERT and others accepted

transfers of United States Currency from customers, to bank accounts and post office

boxes under NEIPERT and his co-conspirators’ custody and control, in exchange

for transferring Bitcoin from Bitcoin addresses under their custody and control, to

Bitcoin addresses designated by their customers via interstate wire transmissions.

      17.    It was further part of the conspiracy that NEIPERT and others

transferred United States Currency through the mail, to addresses designated by their

customers, in exchange for their customers, transferring Bitcoin from Bitcoin

addresses under their custody and control, to Bitcoin addresses under NEIPERT and

his co-conspirators’ custody and control via interstate wire transmissions.

      18.    It was further part of the conspiracy that NEIPERT and others accepted

transfers of United States Currency from an undercover United States Secret Service

Agent (hereinafter “the UC”) to bank accounts and post office boxes under their

custody and control, in exchange for transferring Bitcoin from Bitcoin addresses

under their custody and control to Bitcoin addresses designated by the UC via

interstate wire transmissions.


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      19.    It was further part of the conspiracy that NEIPERT and others

transferred United States Currency through the mail, to a post office box designated

by the UC, in exchange for the UC transferring Bitcoin from Bitcoin addresses under

the UC’s custody and control, to Bitcoin addresses under NEIPERT and others

custody and control via interstate wire transmissions.

      20.    It was further part of the conspiracy that NEIPERT and others met with

the UC in person to exchange United States Currency and Bitcoin. NEIPERT and

others accepted United States Currency from the UC and then transferred Bitcoin

from Bitcoin addresses under their custody and control, to Bitcoin addresses

designated by the UC via interstate wire.

      21.    It was further part of the conspiracy that NEIPERT and others profited

by accepting commissions of a percentage of the value of the transaction.

      22.    It was further part of the conspiracy that NEIPERT and others deposited

these commissions into bank accounts in the names of their business entities and

then transferred these commissions between and among other bank accounts in the

names of their business entities to conceal the ownership, nature, source, and

location of the commissions.




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      23.    It was further part of the conspiracy that NEIPERT and others

commingled these commissions with their income from legitimate sources to further

conceal the ownership, nature, source, and location of the commissions.

      24.    It was further part of the conspiracy that NEIPERT and others used

these commissions to purchase precious metals, real estate, and other things of value

and to pay off personal loans to further conceal the ownership, nature, source, and

location of the commissions.

      All in violation of Title 18, United States Code, Section 1956(h).

                          NOTICE OF FORFEITURE
                            [18 U.S.C. § 982(a)(1)]

      1.     The allegations contained in COUNTS ONE and TWO of this

Information are hereby re-alleged and incorporated by reference for the purpose of

alleging forfeiture pursuant to Title 18, United States Code, Section 982(a)(1).

      2.     Upon conviction of the offenses charged in COUNTS ONE and TWO

of this Information, in violation of Title 18, United States Code, Sections 1956 and

1960, the defendant,

                        MARSHALL DAVID NEIPERT,

shall forfeit to the United States of America, pursuant to Title 18, United States

Code, Section 982(a)(1), any property, real or personal, involved in such offense,



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and any property traceable to such property, including, but not limited to the

following:


      a.     United States Currency

             i.     $502,368.64 in U.S. currency seized from NEIPERT at the time
                    of arrest on or about October 13, 2016;

             ii.    $130,187.00 in U.S. currency seized from 19 Wilderness Trail,
                    Friendswood, Texas 77546 on or about October 13, 2016;

             iii.   $26,700.00 in U.S. Currency seized from packages in UPS box
                    340 and 352 at 133 Friendswood Dr., Friendswood, Texas
                    77546, on or about October 13, 2016;

             iv.    $10.00 in U.S. Currency seized from the center console of
                    NEIPERT’s Dodge Ram truck on or about October 13, 2016;

             v.     $48,973.17 funds transferred by NEIPERT to the United States
                    Secret Service Undercover Account on or about October 13,
                    2016;

      b.     Bitcoin

             i.     515.33 Bitcoin seized from NEIPERT’s Trezor Bitcoin safe. Per
                    the Bitcoin blockchain, this transfer occurred on or about
                    October 15, 2016, under transaction hash 5d51aac703139fe0bb
                    e0ddbb7fa78a378da869576ba8db068d981c25524c6a38;

             ii.    92.22552736 Bitcoin seized from NEIPERT’S Computer
                    “Electrum_2” wallet. Per the Bitcoin blockchain, this transfer
                    occurred on or about October 15, 2016, under transaction hash
                    b96b74ffb14a5c0d3e09c9a77c44a6ec99a2b85e153165915
                    614f925e70d0040;



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      iii.   48.99904 Bitcoin seized from NEIPERT’S Computer
             “Electrum_wallet.” Per the Bitcoin blockchain, this transfer
             occurred on or about October 15, 2016, under transaction hash
             1e2630a4e336ec02ca3568b4beef3db200fd3f2d7e126ef28c77c3
             ed10cb4317;

      iv.    29.45052843 Bitcoin seized from NEIPERT’S Computer
             “Electrum_incoming” wallet. Per the bitcoin blockchain, this
             transfer occurred on October 15, 2016, under transaction hash
             cf74e3dd46d00a3caf3be8ba2f5509f0c3463be65981bdd083a80
             5fe5ccb0f3f;

      v.     13.21317253 Bitcoin seized from NEIPERT’S Mobile_
             Samsung_Mycelium_Wallet 1. Per the Bitcoin blockchain, this
             transfer occurred on or about October 15, 2016, under transaction
             hash 55bc488a3d9d971a452591f835d47abe6170b2883d653202
             8423ea0af0f4785d;

      vi.    9.29979838 Bitcoin seized from NEIPERT’s Computer
             “Electrum_3” wallet. Per the bitcoin blockchain, this transfer
             occurred on or about October 15, 2016, under transaction hash
             7c2064fb6da7f99f8dfa9d32ea208b4844cd9c22bca93c8b6101f4
             e70328b63b.

 c.   Bitcoin Storage Devices

      i.     Bitcoin iron key storage device with a bag of removable keys
             from the safe located in bedroom 3 of 19 Wilderness Trail
             Friendswood, Texas 77546, on or about October 13, 2016;

      ii.    Keep Key Bitcoin Safe, unknown serial number black in color,
             with cord seized from 19 Wilderness Trail Friendswood, Texas
             77546 on or about October 13, 2016;

      iii.   Trezor Bitcoin Safe with cord seized from the entry/foyer of the
             main residence of 19 Wilderness Trail Friendswood, Texas
             77546, on or about October 13, 2016;


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  d.      Electronic Equipment

          i.     Huawei Nexus cell phone, serial number XV7N1631000443
                 seized from NEIPERT on or about October 13, 2016;

          ii.    Dell laptop, serial number DPNG9NYFA01 seized from
                 NEIPERT on or about October 13, 2016;

          iii.   Thumb drive seized from NEIPERT on or about October 13,
                 2016;

 e.       Firearm

          i.     Smith and Wesson, model: Bodyguard .380 caliber semi-
                 automatic pistol, serial number EBJ6801, and accompanying
                 ammunition seized from NEIPERT at the time of his arrest on or
                 about October 13, 2016;

 f.       Money Counting and Packing Material

          i.    Money wrappers and vacuum sealing material seized from 19
                Wilderness Trail Friendswood, Texas 77546 on or about October
                13, 2016;
 g.       Real property

         i.      Real property located at 14706 Sun Harbor Drive Houston, Texas
                 77062;

 h.       The following precious metals seized from a safe located inside 19
          Wilderness Trail Friendswood, Texas 77546

         i.      One 1908 US Indian Cent, Good, corroded;

        ii.      One 1889 US Indian Cent, VG;

       iii.      One 1882 US Barber Dime, Good;


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     iv.    One 1971 Apollo 14 mini silver token, FM;

     v.     One 1978 Panama $75. Gold (.500) Coin, Proof;

     vi.    Thirty eight 1/10 oz. US Gold Eagles, mixed date;

    vii.    Twelve 1/10 oz. Australia Gold;

   viii.    One 1/10 oz. US Gold Eagle;

     ix.    Four 1/10 oz. Gold mixed;

     x.     One 2014 1 oz. US Gold Buffalo;

     xi.    Two 2013 1 oz. Canada Gold Maple leafs;

    xii.    Ten 1 oz. Canada Gold Maple leafs, mixed dates;

   xiii.    Ten 1 oz. S.A. Gold Krugerrands;

   xiv.     One 1 oz. Canada Gold;

    xv.     Twenty 1 oz. US Gold Eagles, mixed dates;

   xvi.     Twenty 1 oz. S.A. Gold Krugerrands, mixed dates;

  xvii.     Nineteen 1 oz. US Gold Buffalo's, mixed dates seized from a safe
            located in bedroom 3 of the main residence of 19 Wilderness
            Trail Friendswood, Texas 77546 on October 13, 2016;

  xviii.    One 2011 US Gold 1 oz. Buffalo;

   xix.     One 2013 US Silver 1 oz. Eagle;

    xx.     One 2014 1 oz. Gold Australia Horse;




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   xxi.     One 1947 50 Peso Mexico Gold, cleaned, seized from a safe
            located in bedroom 3 of the main residence of 19 Wilderness
            Trail Friendswood, Texas 77546 on October 13, 2016;

   xxii.    Three 1945 2 Peso Mexico Gold;

  xxiii.    One 1945 2- 1/2 Peso Mexico Gold;

  xxiv.     One 1859 BB 20 Francs Gold, XF cleaned;

   xxv.     Two 2014 1/4 oz. US Gold;

  xxvi.     Two 2013 1/2 oz. US Gold;

 xxvii.     Three 1 oz. US Gold, mixed dates seized from a safe located in
            bedroom 3 of 19 Wilderness Trail Friendswood, Texas 77546 on
            October 13, 2016;

 xxviii.    One 1977 S.A. 1 oz. Gold Krugerrand;

  xxix.     Three 2003 1 oz. US Gold Eagles;

   xxx.     Twenty 2016 US 1 oz. Gold Buffalo's on Mint Sheet seized from
            a safe located in bedroom 3 of the main residence of 19
            Wilderness Trail Friendswood, Texas 77546 on October 13,
            2016;

  xxxi.     Four rolls each containing twenty pieces each of “OPM” rounds
            .999 Silver rounds;

 xxxii.     Ten rolls each containing “Buffalo” rounds .999 Silver rounds;

 xxxiii.    Twelve Buffalo .999 rounds seized from a safe located within
            bedroom 3 of the main residence of 19 Wilderness Trail
            Friendswood, Texas 77546 on October 13, 2016;

 xxxiv.     Six “OPM” rounds .999 Silver rounds;


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          xxxv.       One Maria Teresa Austrian Thaler Souvenir Coin Silver;

          xxxvi.      Thirty US Silver Dollars;

      xxxvii.         Two US Ike Dollars;

     xxxviii.         Three $10.00 Rolls of Common Kennedy Half Dollars;

          xxxix.      One 1996 $2.00 Canada Coin;

              xl.     Fifty six 1964 US Kennedy 90% Silver Half Dollars;

             xli.     Two 1965 US Kennedy 40% Silver Half Dollars;

            xlii.     Two US Silver Dollars (1882- S, AG. & 1901-S);

           xliii.     Three 1922 US Peace Dollars, circulated;

           xliv.      One 1948 Mexico 5 Peso .900 Silver coin;

            xlv.      One Silver Token, .999 1/2 oz.;

           xlvi.      Seventy-two US Walking Liberty Half Dollars, Common
                      circulated;

           xlvii.     189 US Benjamin Franklin Half Dollars, Common circulated;

          xlviii.     Eight S1. SBA Dollars (1979 - 1980);

           xlix.      Seventy-seven $1. Coins, “Modern- Current” (2000 - Present);

     i.         A money judgment in the amount of $9,500,000.00.

      3.        If any of the property described above as being subject to forfeiture, as

a result of any act or omission of the defendants:

                a.    cannot be located upon the exercise of due diligence;

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             b.    has been transferred, sold to, or deposited with a third person;

             c.    has been placed beyond the jurisdiction of this Court;

             d.    has been substantially diminished in value; or

             e.    has been commingled with other property which cannot be

                   subdivided without difficulty;

The United States shall be entitled to forfeiture of substitute property under the

provisions of Title 21, United States Code, Section 853(p), as incorporated by Title

28, United States Code, Section 2461(c), up to the value of the forfeitable property.


                                             JAY E. TOWN
                                             United States Attorney

                                             /s/ Electronic Signature___________
                                             ERICA WILLIAMSON BARNES
                                             Assistant United States Attorney




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